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3
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5
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6    eric.bjorgum@kb-ip.com
7
     ATTORNEYS FOR PLAINTIFF
8
     INTENT DRIVERS, INC.
9

10                       UNITED STATES DISTRICT COURT
11
                        CENTRAL DISTRICT OF CALIFORNIA
12

13

14   INTENT DRIVERS, INC.; a California ) Case No.:
                                              )
                                              )
15
     corporation,                             ) COMPLAINT FOR:
                                              ) 1. COPYRIGHT INFRINGEMENT
16                                            )
                        Plaintiff,            ) JURY TRIAL DEMANDED
17                                            )
                                              )
18           v.                               )
                                              )
19                                            )
     PRIMESOLARQUOTES;                        )
20   SOLARPANELQUOTES; SAHAK                  )
                                              )
21   NALBANDYAN, an individual; and           )
     DOES 1 – 10, Inclusive,                  )
22                                            )
                       Defendants.
23

24

25         Plaintiff Intent Drivers, Inc. (“Plaintiff” or “Intent Drivers”), by and through
26   its attorneys, Karish & Bjorgum, PC, files its complaint against
27   PRIMESOLARQUOTES, SOLARPANELQUOTES, SAHAK NALBANDYAN,
28   and DOES 1 – 10, inclusive, for injunctive relief and damages as follows:
                                                  1
      Case 8:22-cv-00003-ADS Document 1 Filed 01/03/22 Page 2 of 14 Page ID #:2



1                          Subject Matter Jurisdiction and Venue
2

3    1.    This case is a civil action arising under the Copyright Laws of the United
4    States, 17 U.S.C. §§ 101, et seq. This Court has subject matter jurisdiction over the
5    claims in this Complaint which relate to copyright infringement, 17 U.S.C. § 501
6    and 28 U.S.C. §§ 1331 and 1338(a), and under diversity jurisdiction, pursuant to
7    28 U.S.C. § 1332.
8    2.    Venue is proper in this court pursuant to 28 U.S.C. §§ 1391(b) and 1400(a)
9    because the claims alleged in this action arose in this Judicial District, and
10
     Defendants reside and transact business in this District.
11

12
                              Parties and Personal Jurisdiction
13
     3.    Plaintiff Intent Drivers, Inc. is a California corporation with its principal
14
     residence in Orange County, California.
15
     4.    Defendant Primesolarquotes is a business entity of unknown form based in
16
     information and belief, in Glendale, California. It operates as
17
     primesolarquotes.com.
18
     5.    Defendant Solarpanelquotes is a business entity of unknown form and
19

20
     locale. It is operating as Solarpanelquotes.org.

21
     6.    Defendant Sahak Nalbandyan is an individual residing in Los Angeles

22   County, California. On information and belief, Nalbandyan is the owner and chief
23   principal of primesolarquotes and solarpanelquotes.
24   7.    This Court has personal jurisdiction over Defendants because Defendants
25   solicit and transact business and have other related activities within this Judicial
26   District. This court also has personal jurisdiction over Defendants because
27   Defendants caused actual harm to Plaintiff, a resident of this District. Defendants’
28   actions were aimed at Plaintiff Intent Drivers.
                                                   2
      Case 8:22-cv-00003-ADS Document 1 Filed 01/03/22 Page 3 of 14 Page ID #:3



1                         Plaintiff’s Business and Defendant’s Acts
2
     8.     Plaintiff is engaged in the business of advertising and generating sales leads
3
     for various industries, including the solar and insurance industries. Unlike many
4
     “lead generation” companies, Plaintiff produces its own visual and written content.
5
     Plaintiff goes to great pains to protect its original content.
6
     9.    Part of Plaintiff’s original content is photographs that it creates. Plaintiff
7
     goes to great lengths to hire a photographer and create photographic images that
8
     are original and draw users to its products and services. An example of one such
9
     photograph at issue (the “Meter Photo”), which is the photograph below:
10

11

12

13

14

15

16

17

18

19   10.   Defendant Primesolarquotes has displayed the Meter Photo.
20   11.   Primesolarquotes has also copied verbatim copyrighted text owned by
21
     Plaintiff (the “Solar Article”). The Solar Article copyright is owned by Plaintiff.
22
     The Solar Article is registered with the United States Copyright Office as “Energy
23
     Bill Cruncher 09_16_17” and has the U.S. Copyright Reg. No. TXu002234483. A
24
     copy of the Solar Article and its copyright registration are attached hereto as
25
     Exhibit A.
26
     12.   Defendant has been taking Plaintiff’s content and using to it divert sales and
27
     leads from Plaintiff. Plaintiff’s website content, such as the Works, is known as
28

                                                    3
      Case 8:22-cv-00003-ADS Document 1 Filed 01/03/22 Page 4 of 14 Page ID #:4



1    unique, high quality content in its industries.
2
     13.     On information and belief, Defendant Sahak Nalbandyan is the owner and
3
     chief principal at Primesolarquotes and Solarpanelquotes.
4
     14.     On information and belief, Defendants are working jointly and in connection
5
     each other and with unknown Defendants Does 1 – 10 in furthering the scheme to
6
     divert Plaintiff’s customers and interfere with Plaintiff’s contracts.
7

8
                            Count One – Copyright Infringement
9
                                 (Against All Defendants)
10

11
     15.     Plaintiff realleges and incorporates by reference each of the allegations
12
     contained in Paragraphs 1 through 11 of this Complaint as though fully set forth
13
     here.
14
     16.     Plaintiff is the owner of the photographic work entitled “Energy Bill
15
     Cruncher 09_16_17”, which is text registered as U.S. Copyright Reg. No.
16
     TXu002234483 for the work entitled (attached as Exhibit A). Part of the text is
17

18
     also included as Exhibit A.

19
     17.     Defendants have copied and displayed the Work without Plaintiff’s

20   authorization, and it has done so with the intent of attracting customers.
21   Defendant’s acts constitute infringement of Intent Driver’s copyrights in the Work,
22   in violation of the Copyright Act, 17 U.S.C. § 101, et seq.
23   18.     Plaintiff is informed and believes that Defendants’ acts of infringement were
24   deliberate, willful, malicious, oppressive, and without regard to proprietary rights.
25   19.     Defendants’ copyright infringement has caused, and will continue to cause
26   to suffer substantial injuries, loss, and damage to its proprietary and exclusive
27   rights to the copyright in the Work. Defendants have damaged business reputation
28   and goodwill, diverted its trade, and caused loss of profits, all in an amount not yet
                                                    4
      Case 8:22-cv-00003-ADS Document 1 Filed 01/03/22 Page 5 of 14 Page ID #:5



1    determined. In addition, Intent Driver is entitled to receive the profits made by
2
     Defendant from its wrongful acts pursuant to 17 U.S.C. § 504.
3

4
                                    PRAYER FOR RELIEF
5
            Wherefore, Intent Drivers respectfully requests judgment as follows:
6
           1.       That the Court enter a judgment against Defendants that Defendants
7
           have:
8
           (i) Infringed Plaintiff’s copyrights;
9
           (ii) Interfered with Plaintiff’s contracts;
10

11
           (iii) Interfered with Plaintiff’s prospective economic advantage;

12
           (iv) Negligently interfered with Plaintiff’s prospective economic advantage;

13
           That each of the above acts were willful.

14
           2. That the Court issue a Permanent Injunction enjoining and restraining
15
     Defendants and their respective agents, servants, employees, successors and
16
     assigns, and all other persons acting in concert with or in conspiracy with or
17
     affiliated with Defendants, from engaging in any activity that violates Intent
18
     Drivers’ rights as identified above and from infringing Plaintiff’s copryights, and
19

20
     that any damage from copyright infringement be multiplied for willful

21   infringement.
22         3. That Intent Drivers be awarded actual damages for Defendant’s copyright
23   infringement, together with Defendant’s direct and indirect profits derived from its
24   unlawful infringement of Intent Drivers’ copyrights.
25         4.       That the Court award Intent Drivers its costs of suit incurred herein.
26         5.       That Intent Drivers be awarded such other relief as may be
27   appropriate.
28

                                                    5
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1    DATED: December 31, 2021          Respectfully submitted,
2
                                       KARISH & BJORGUM, PC
3

4

5                                      By       /s/ Eric Bjorgum, ______________
6                                                   Eric Bjorgum
                                                    Attorneys for Plaintiff
7
                                                    Intent Drivers, Inc.
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      Case 8:22-cv-00003-ADS Document 1 Filed 01/03/22 Page 7 of 14 Page ID #:7



1                               DEMAND FOR TRIAL BY JURY
2
            Plaintiff Intent Drivers, Inc. hereby demands a trial by jury to decide all issues
3
     so triable in this case.
4

5
     DATED: December 31, 2021                       Respectfully submitted,
6
                                                    KARISH & BJORGUM, PC
7

8

9
                                                    By /s/ Eric Bjorgum____________
                                                       Eric Bjorgum
10                                                     Attorneys for Plaintiff,
11                                                     Intent Drivers, Inc.
12

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                  Exhibit $
WebVoyage Record View 1                                                https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi?Search_Arg=TXu0022...
                 Case 8:22-cv-00003-ADS Document 1 Filed 01/03/22 Page 9 of 14 Page ID #:9




                                  The Library has opened access to the reading rooms by appointment
                                  only. More. The Jefferson Building has reopened to visitors via timed,
                                                          ticketed entry. More.




         Public Catalog
         Copyright Catalog (1978 to present)
         Search Request: Left Anchored Copyright Number = TXu002234483
         Search Results: Displaying 1 of 1 entries




                                                  Energy Bill Cruncher 09_16_17.

                       Type of Work: Computer File
         Registration Number / Date: TXu002234483 / 2020-12-29
                    Application Title: Energy Bill Cruncher 09_16_17.
                                Title: Energy Bill Cruncher 09_16_17.
                         Description: Electronic file (eService)
                Copyright Claimant: Intent Drivers, Inc. Address: 9692 Melinda Circle, Huntington Beach, CA, 92646,
                                       United States.
                    Date of Creation: 2017
          Authorship on Application: Intent Drivers, Inc., employer for hire; Domicile: United States; Citizenship: United
                                       States. Authorship: text.
                     Copyright Note: C.O. correspondence.
                               Names: Intent Drivers, Inc.




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1 of 1                                                                                                                    1/3/2022, 6:22 PM
California Policy Makes Going Solar Easy For Homeowners   https://www.energybillcruncher.com/pagem/?tg_ref=gemii419851069&...
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1 of 3                                                                                                     1/3/2022, 6:25 PM
Case 8:22-cv-00003-ADS Document 1 Filed 01/03/22 Page 11 of 14 Page ID #:11
California Policy Makes Going Solar Easy For Homeowners                https://www.energybillcruncher.com/pagem/?tg_ref=gemii419851069&...
                Case 8:22-cv-00003-ADS Document 1 Filed 01/03/22 Page 12 of 14 Page ID #:12




                    $101 - $150                            $151 - $200                            $201 - $300


                    $301 - $400                            $401 - $500                                $501 +




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3 of 3                                                                                                                  1/3/2022, 6:25 PM
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                   Exhibit B
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